Case 1:15-Cv-03241-TWT. Document 22 Filed 03/15/16 ` Page 1 of 1

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

 

DINITA FERGUSON, Individually and
on behalf of Ohers Similarly Situated,

Plaimiff, 1:15-CV-03241-TWT
V. .
STIPULATIoN oF VoLUNTARY
REISNER RESTAURANTS, INC, DISMISSAL PURSUANT TO
d/b/a sUBWAY, FED. R. CIV. P. 41(a)(1)(A)(ii)
Defendant.

 

 

STIPULATION OF VOLUNTARY DISMISSAL
Plaintiff, DINITA vFERGUSON, by and through her attorneys, JTB LAW GROUP, LLC,
and Defendant REISNER RESTAURANTS, [NC, d/b/a SUBWAY, by and through its
undersigned attorneys HOWARD R. EVANS AND ASSOCIATES, P.C., hereby stipulate to the
dismissal of the above-captioned action, with prejudice, pursuant to Rule 41(a)(1)(A)(ii) of the

Federal Rules of Civil Procedure.

Dated: March 14, 2016

JTB LAW GROUP, LLC ~ HOWARD R. EVANS AND ASSOC., P.C.

MM-R @\/W/UM`

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